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MOTION HEARING

       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Date: August 22, 2022
Judge B. Lynn Winmill                       Deputy Clerk: Jamie Gearhart
Case No. 1:22-cv-329                        Reporter: Tammy Hohenleitner
Place: Boise                                Time: 9:02 – 10:50 a.m.


UNITED STATES OF AMERICA v. STATE OF IDAHO

Counsel for Plaintiff: Brian Netter

Counsel for Defendant: Brian Church, Joan Callahan, and Clay Smith

Counsel for Intervenor: Monte Stewart and Daniel Bower


The Court conducted a hearing regarding Plaintiff’s Motion for a Preliminary Injunction (Dkt.
17).

The Court intends to issue a written decision by Wednesday, August 24, 2022.
